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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
                                                          Case No. 23-CR-00118 (AT)
        v.
                                                         [PROPOSED] ORDER FOR
 HO WAN KWOK, et al.,
                                                        ADMISSION PRO HAC VICE
                         Defendants.
                                                                   ECF CASE



       The motion of Natasha M. Ertzbischoff, for admission to practice Pro Hac Vice in the

above-captioned action is granted.

       Applicant has declared that she is a member in good standing of the bar of the state of New

York; and that her contact information is as follows:

                                   Natasha M. Ertzbischoff
                                   BROWN RUDNICK LLP
                                     Seven Times Square
                                    New York, NY 10036
                                      T: (212) 209-4981
                                       F: (212) 938-2981
                               NErtzbischoff@brownrudnick.com

       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Defendant Ho Wan Kwok in the above-entitled action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the
above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including
the Rules governing discipline of attorneys.


DATED:
                                                   Honorable Analisa Torres
                                                   United States District Judge
